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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                          DIVISION OF SHREVEPORT

  ERICA BROWN AND JEREMIAH           §    CIVIL ACTION NO. 5:21-CV-02406-SMH-
  GREEN, INDIVIDUALLY AND ON              MLH
  ON BEHALF OF THE ESTATE OF
  RUBY GREEN

  V.                                 §    JUDGE S. MAURICE HICKS, JR.

  PMG OPCO-WASHINGTON, LLC
  D/B/A BOOKER T. WASHINGTON         §    MAGISTRATE JUDGE HORNSBY
  SKILLED NURSING &
  REHABILITATION AND KOURTNEY
  BROWNLEE




    DEFENDANTS’ SUPPLEMENTAL ARGUMENT AND AUTHORITY IN FURTHER
            OPPOSITION TO PLAINTIFF’S MOTION TO REMAND
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         COME NOW Defendants PMG OPCO-Washington, LLC d/b/a Booker T. Washington

  Skilled Nursing & Rehabilitation Center (“BTW”) and Kourtney Brownlee (“Brownlee”), by and

  through their undersigned counsel, and hereby submit this Supplemental Argument and Authority

  in Further Opposition to Plaintiff's Motion to Remand, in light of the decisions of Mitchell v.

  Advanced HCS, L.L.C., 28 F.4th 580 (5th Cir. 2022) and Perez v. Southeast SNF, L.L.C., No. 21-

  50412, 2022 WL 987187 (5th Cir., Mar. 31, 2022). Defendants show the Court as follows:


         A. Mitchell and Perez Correctly Hold That The PREP Act Is An Express Federal
            Jurisdiction Act, But (Contrary To Supreme Court Precedent) Incorrectly Limit
            That Holding To Only Willful Misconduct Claims.

             1. Supreme Court Precedent Directs that Claims Under Acts with an Exclusive Federal
                Cause of Action and Exclusive Federal Jurisdiction Cannot Be Distinguished By
                Cause of Action Elements Including Standard of Liability.

         The first Circuit Court to consider the removability of PREP Act claims was Maglioli v.

  Alliance HC Holdings, LLC, 16 F.4th 393 (3d Cir. 2021). There, the Third Circuit found:

         The [PREP Act] statute’s plain language cuts through the dense analysis that we
         would otherwise employ to determine whether Congress intended to create an
         exclusive cause of action.

                                                   ***

         The PREP Act unambiguously creates an exclusive federal cause of action.

                                                   ***

         The PREP Act’s language easily satisfies the standard for complete preemption of
         particular causes of action. It provides an “exclusive cause of action ... and also set[s]
         forth procedures and remedies governing that cause of action.”

                                                   ***

         The Supreme Court has relied on the complete preemptive force of a statute to infer
         congressional intent to create an exclusive federal cause of action. Here [under the
         PREP Act], we have a better source of congressional intent: the words of Congress.
         Again, our analysis is straightforward. Congress said the cause of action for willful
         misconduct is exclusive, so it is.
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  Maglioli, 16 F.4th at 408-10. Mitchell – and by extension, Perez – adopt this reasoning. Mitchell, 28

  F.4th at 587 (the PREP Act contains “clear congressional intent that the prescribed remedies be

  exclusive”); Perez, at *2 (opining that “Mitchell is on all fours with this case”).

          Maglioli goes on to incorrectly hold, though, that this express federal (removal) jurisdiction

  is limited to claims for willful misconduct liability and not for negligence liability:

          Willful misconduct is a separate cause of action from negligence. The elements of
          the state cause of action need not “precisely duplicate” the elements of the federal
          cause of action for complete preemption to apply. [Aetna Health Inc. v. ]Davila, 542
          U.S. [200,] 216, 124 S.Ct. 2488 [(2004)]. But complete preemption does not apply
          when federal law creates an entirely different cause of action from the state claims in
          the complaint. See DiFelice v. Aetna U.S. Healthcare, 346 F.3d 442, 452–53 (3d Cir.
          2003). Congress could have created a cause of action for negligence or general tort
          liability. It did not. Just as intentional torts, strict liability, and negligence are
          independent causes of action, so too willful misconduct under the PREP Act is an
          independent cause of action. See Restatement (Second) of Torts § 519 cmt. d (Am.
          L. Inst. 1977).

  16 F.4th at 411;1 see also Mitchell, 28 F.4th at 586-87 (relying on the Maglioli court’s reasoning that

  willful misconduct and negligence are different “causes of action” and, therefore, Congress intended

  removal jurisdiction for the higher standard of liability claims only, and finding the remedy of the

  PREP Act compensation fund is not a “cause of action” supporting removal jurisdiction); Perez, at

  *2 (same).

          Maglioli, Mitchell, and Perez get it half right. Like Maglioli, both Mitchell and Perez hold

  that the PREP Act provides for exclusive federal jurisdiction and, therefore, removal jurisdiction.

  However, each incorrectly limits that statutory grant of jurisdiction to claims asserting the higher

  standard of liability, to-wit: willful misconduct. Indeed, the PREP Act provides for federal removal

  jurisdiction, but the litmus test for that jurisdictional directive cannot be whether the state-law




  1
   Notably, the Third Circuit’s decision in DiFelice (cited by Maglioli) predated the Supreme
  Court’s preemption analysis in Davila.



                                                     2
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  claim’s elements are precisely mirrored where Congress’ exclusive federal cause of action has left

  no independent state right. See Davila, 542 U.S. at 216. Accordingly, Maglioli, Mitchell, and Perez

  defy the Supreme Court authority of Davila on this point and should not be followed.

         Once exclusive federal jurisdiction is provided, as Maglioli, Mitchell, and Perez all find in

  the PREP Act, the scope of that complete preemption is dictated by the Supreme Court’s two-part

  test in Davila. Advanced Physicians, S.C. v. National Football League, 859 Fed.Appx. 695, 696 (5th

  Cir. 2021); Kelsey-Seybold Med. Grp. PA v. Great-West Healthcare of Texas, Inc., 611 Fed.Appx,

  841, 841 (5th Cir. 2015) (both discussing and applying the Davila scope of preemption test);

  Connecticut State Dental Ass’n v. Anthem Health Plans, Inc., 591 F.3d 1337, 1345 (11th Cir. 2009)

  (same). A “‘cause[ ] of action within the scope of the [Act] [is] removable to federal court.’”

  Connecticut State Dental, 591 F.3d at 1344, quoting Metropolitan Life Ins. Co. v. Taylor, 481 U.S.

  58, 60 (1987).

         The Davila “scope” test must be followed to determine the breadth of Congress’ exclusive

  federal cause of action. As applied to the PREP Act, this test thus requires two inquiries: (1) whether

  the plaintiff “could have brought its claim under [the PREP Act;]” and (2) whether “‘there is no other

  independent legal duty that is implicated by a defendant’s actions.’” Kelsey-Seybold, 611 Fed.Appx.

  at 841, quoting Davila, 542 U.S. at 210; Advanced Physicians, 859 Fed.Appx. at 696; Connecticut

  State Dental, 591 F.3d at 1345.

         First, Plaintiffs’ Petition plainly alleges that Defendants failed to appropriately administer

  covered countermeasures to prevent the Decedent from contracting COVID-19, including

  implementation of infection control countermeasures, sanitization, and directions for care

  promulgated by the Centers for Disease Control and Prevention and the Louisiana Department of

  Health and Hospitals (“LDHH”). Petition [Doc. 1-2], ¶¶7, 10, 12. Plaintiffs’ Petition further alleges




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  that the Decedent died of COVID-19 (id., ¶8), the disease covered by the Secretary’s Declaration

  and protected by the PREP Act. 42 U.S.C. §§247d-6d(a)(2)(A)(ii) (applying to a pandemic death),

  (b)(1) (Secretary makes determination what disease is covered by PREP); Declaration, 85 Fed. Reg.

  15,198 (Mar. 17, 2020) (declaring COVID-19, its countermeasures, programs and facilities covered

  by PREP). And, the Petition also alleges that the death was a result of a licensed healthcare provider’s

  use and administration of countermeasures, programs and facility. Petition [Doc. 1-2], ¶¶7, 10, 12.

  Accordingly, this claim for loss falls under the PREP Act and would have access to either a remedy

  under the administrative compensation fund or a litigation remedy. Maglioli, Mitchell, and Perez,

  however, hold that Plaintiffs cannot bring their negligence claims under the PREP Act because

  Congress only provides a federal cause of action for willful misconduct claims. See discussion,

  supra. The trilogy conflates the first and second prong of the Davila test. The Plaintiffs’ claim here

  may be brought under the PREP Act — the Plaintiffs’ claim just may not be viable under the required

  standard of liability, but Congress has dictated that is not this Court’s concern.2

          The second prong of the Davila test is met because in creating its exclusive federal cause of

  action, Congress expressly left no other independent duty or right. 42 U.S.C. §§247d-6d (a)(1) (“a

  covered person shall be immune from suit and liability under Federal and State law with respect to

  all claims for loss”) (emphases added), (b)(8) (“no State … may establish, enforce, or continue in

  effect with respect to a covered countermeasure any provision of law or legal requirement”), (d)(1)

  (“the sole exception to the immunity from suit and liability of covered persons … shall be for an

  exclusive Federal cause of action”), and (e)(1) (exclusive federal jurisdiction for claims under federal

  cause of action). Accordingly, Congress extinguished completely any and all other rights, duties, and



  2
    If Plaintiffs insist on litigating in court, then that forum is the District Court for the District of
  Columbia (D.D.C.), and Congress has provided that only “[s]uch panel shall have jurisdiction over
  such action for purposes of considering motions to dismiss… .” §247d-6d(e)(5).



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  claims related to COVID-19 deaths asserting wrongdoing by a program planner and allegedly arising

  from the administration of a COVID countermeasure, program or facility, save its exclusive federal

  cause of action. Nothing else exists.

         Through immunity, preemption, an exclusive cause of action, and a special three-judge

  district court in Washington, D.C., Congress has provided “[n]o legal duty (state or federal)

  independent of” the PREP Act. Davila, 542 U.S. at 210; Kelsey-Seybold, 611 Fed.Appx. at 841,

  Advanced Physicians, 859 Fed.Appx. at 696; Connecticut State Dental, 591 F.3d at 1345; 42 U.S.C.

  §§247d-6d(d)(1) and (2), (e)(1). This is true regardless of whether the asserted state cause of action

  “precisely duplicate[s] the elements” of the PREP claim or not. Davila, 542 U.S. at 216. And, this is

  true regardless of varying asserted causes of action with various standards of liability. As Davila

  found in the context of ERISA, 29 U.S.C. §§1001, et seq.:

         [T]he Court of Appeals found significant that respondents “assert a tort claim for tort
         damages” rather than “a contract claim for contract damages,” and that respondents
         “are not seeking reimbursement for benefits denied them.” [Roark v. Humana, Inc.,]
         307 F.3d [298,] 309 [(5th Cir. 2002)]. But, distinguishing between pre-empted and
         non-pre-empted claims based on the particular label affixed to them would “elevate
         form over substance and allow parties to evade” the pre-emptive scope of ERISA
         simply “by relabeling their contract claims as claims for tortious breach of contract.”
         Allis–Chalmers [Corp. v. Lueck], [471 U.S. 202,] 211, 105 S.Ct. 1904 [(1990)]. Nor
         can the mere fact that the state cause of action attempts to authorize remedies beyond
         those authorized by ERISA § 502(a) put the cause of action outside the scope of the
         ERISA civil enforcement mechanism. In Pilot Life [Ins. Co. v. Dedeaux, 481 U.S. 41
         (1987)], Metropolitan Life, and Ingersoll-Rand [Co. v. McClendon, 498 U.S. 133
         (1990)], the plaintiffs all brought state claims that were labeled either tort or tort-like.
         See Pilot Life, 481 U.S. at 43, 107 S.Ct. 1549 (suit for, inter alia, “ ‘Tortious Breach
         of Contract’ ”); Metropolitan Life, supra, at 61–62, 107 S.Ct. 1542 (suit requesting
         damages for “mental anguish caused by breach of [the] contract”); Ingersoll-Rand,
         498 U.S. at 136, 111 S.Ct. 478 (suit brought under various tort and contract theories).
         And, the plaintiffs in these three cases all sought remedies beyond those authorized
         under ERISA. See Pilot Life, supra, at 43, 107 S.Ct. 1549 (compensatory and
         punitive damages); Metropolitan Life, supra, at 61, 107 S.Ct. 1542 (mental anguish);
         Ingersoll-Rand, supra, at 136, 111 S.Ct. 478 (punitive damages, mental anguish).
         And, in all these cases, the plaintiffs’ claims were pre-empted. The limited remedies
         available under ERISA are an inherent part of the “careful balancing” between
         ensuring fair and prompt enforcement of rights under a plan and the




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         encouragement of the creation of such plans. Pilot Life, supra, at 55, 107 S.Ct.
         1549.

  Davila, 542 U.S. at 214-15 (emphases added). Note that in Davila, the plaintiffs attempted to bring

  a tort action under the Texas Health Care Liability Act, Tex. Civ. Prac. & Rem. Code Ann §§88.001-

  88.003 — a wholly separate cause of action from ERISA’s contract-based federal cause of action.

  Yet, contrary to the rationale of Maglioli, Mitchell, and Perez, the Supreme Court holds that separate

  cause of action is completely preempted.

         Regardless of whether a claim is drafted to sound in contract, tort, intentional tort, a willful

  or wanton standard of liability (as in punitive damages), some state statutory scheme, or simple

  negligence, those claims fall into the scope of the PREP Act because there is no other duty or right

  for “all claims for loss”. 42 U.S.C. §247d-6d(a)(1). And, thus, those claims however pleaded are

  completely preempted by the PREP Act under the authority and application of Davila. Maglioli,

  Mitchell, and Perez improperly strip and illogically segment PREP Act language and intent. In

  casting such broad immunity and preemption, and in providing a generous administrative remedy,

  Congress did not intend partial complete preemption of litigation claims for “loss” of any sort:

  Maglioli, Mitchell, and Perez err in determining otherwise.

         Where Congress “expressed an unmistakable preference for a federal forum,” a federal forum

  shall be provided. El Paso Natural Gas Co. v. Neztsosie, 526 U.S. 473, 474, 485 at n. 7 (1999).

  “[O]nly the most zealous application of the maxim expressio unius est exclusio alterius could answer

  the implausibility that Congress would have intended to force defendants to remain in [state] courts”.

  Id. at 487. Congress’ choice to exclude a lesser liability standard does not impact the federal

  domination of COVID-19 countermeasure claims. Id. (“Now and then silence is not pregnant”);

  Davila, 542 U.S. at 215 (“limited remedies available under ERISA are an inherent part of

  [Congress’] ‘careful balancing’”).




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         Plaintiffs’ Motion to Remand should be denied despite the rulings in Mitchell and Perez.


             2. Supreme Court Precedent Defies the Mitchell and Perez Holdings That Congress’
                Administrative Claims Process Impedes Federal Removal Jurisdiction

         Mitchell and Perez also err in finding the PREP Act compensation fund “withdraws

  jurisdiction from any court,” citing 42 U.S.C. §247d-6e(b)(5)(C). Mitchell, 28 F.4th at 587 (emphasis

  removed). See Perez, at *2. First, the PREP Act’s Section (b)(5)(C)’s language applies only to that

  “paragraph”, which prohibits judicial review of only the covered countermeasure injury

  compensation table. Second, the PREP Act’s required pre-litigation claims process is a required

  predicate administrative process. §247d-6e. Its remedy is elective to the pursuit of a litigation claim.

  Id., (d)(5). In no way does a predicate non-adjudicative, no-fault claims process impact the

  consideration of federal subject matter jurisdiction in a litigation forum. Yellow Freight System, Inc.

  v. Donnelly, 494 U.S. 820, 824 (1990); Fort Bend County, Texas v. Davis, 139 S.Ct. 1843, 1849-51

  (2019). This faulty reasoning cannot be a basis for remand.


         B. Mitchell and Perez Are Wrong On Federal Officer Removal As 28 U.S.C. §1442 Is
            Applicable to this Case

         Mitchell and Perez incorrectly reject the application of Federal Officer Removal on different

  grounds and different arguments than are presented here. In contrast to those cases involving Texas

  facilities, Defendants demonstrate here that BTW was an All-COVID facility subject to the control

  and oversight of U.S. Department of Health and Human Services (“HHS”), the Centers for Disease

  Control and Prevention (“CDC”) and the LDHH, which is a federal contractor for the Centers for

  Medicare and Medicaid Services (“CMS”). See Affidavit of Brownlee, Exhibit A, ¶¶3-6. Defendants

  also show that Congress and HHS both anticipated private federal officers would be used in response

  to a public health emergency and would need the protections of federal law, including the protection

  of a federal forum due to their assistance in performing a job the federal government could not do



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  for itself. In fact, HHS directed and controlled BTW as a program planner (see Response Letter,

  August 14, 2020), and as a CMS skilled nursing facility (“SNF”) participant directly and through its

  federal contractor — LDHH. Accordingly, this Court should not follow the holdings of Mitchell and

  Perez.

              1. BTW Was a Louisiana All-COVID Center and Was a Critical Partner to the AHJ
                 Response.

           BTW is a special type of program planner and operates under the direction of a federal

  contractor and a federal agency. HHS distinguishes declared “healthcare companies” like BTW as a

  subset of all potential program planners. HHS Advisory Opinion (“AO”) 20-04, 1 (Oct. 23, 2020).3

  While HHS notes that potential program planners and qualified persons otherwise administering or

  using countermeasures, are distinguished from “healthcare companies that are part of a

  government response to the COVID-19 pandemic.” Id. (emphases added). This language and the

  other language from the PREP Act and HHS directives demonstrate that while BTW is a program

  planner, it is also much more since it belongs to a particular subset specifically referenced by HHS

  as “critical” members of the federal government response to the COVID-19 pandemic. See e.g.,

  Fourth Amended Declaration, n. 20 (Guidance, p. 1: “Enhancing the safety of nursing homes,

  assisted-living facilities, long-term-care facilities,... is critical for our Nation’s response to the

  COVID-19 pandemic").4



  3
     HHS incorporated all Advisory Opinions into its initial Declaration. Fourth Amended
  Declaration, 85 Fed. Reg. 79,190, 79,191 (Dec. 3, 2020).
  4
    Here, “guidance” is interchangeable with “directive”: “An Authority Having Jurisdiction [or
  “AHJ”] may authorize such activities through, among other things, guidance, requests for
  assistance, agreements, directives, or other arrangements (collectively guidance)”. AO 20-04, 4
  (emphases added); id. 1, 2 (generally recognizing that in addition to “guidance” HHS and its AHJs
  issue “directives” to program planners). An AHJ is a public agency or an “institution[] acting on
  behalf of governmental entities … that has legal responsibility and authority for responding to an
  incident, based on political or geographical … or functional ... range or sphere of authority.”
  Declaration, 85 Fed. Reg. at 15,202; see also Fourth Amended Declaration, 85 Fed. Reg. at 79,197.



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          While immunity is broad for program planners and many may be eligible to become a

  program planner, HHS emphasizes that:

          “[L]iability immunity is afforded to Covered Persons only for Recommended
          Activities involving Covered Countermeasures that are related to” (1) federal
          agreements or (2) “[a]ctivities authorized in accordance with the public health
          and medical response of the Authority Having Jurisdiction to prescribe,
          administer, deliver, distribute or dispense the Covered Countermeasures
          following a Declaration of an emergency.”

  AO 20-04, 4, quoting Declaration, 85 Fed. Reg. at 15,202. This language demonstrates that HHS

  recognized BTW as a licensed facility working under its AHJs to fight COVID-19 pursuant to the

  federal government plan. Id.; contra Maglioli, 16 F.4th at 405 (nursing homes “are not government

  contractors”). This cited Declaration passage also indicates the significance of BTW’s oversight and

  control by LDHH — an AHJ.

          First, federal regulation provides that LDHH employees engaged in surveying, certifying, or

  enforcing the Social Security Act, 42 U.S.C. §§1395h, et seq., and Medicare Act are federal

  “employees” of HHS for that purpose, to-wit:

          Employee of the Department includes current and former:
                                                   ***
          (3) Employees of a contractor, subcontractor, or state agency performing survey,
          certification, or enforcement functions under title XVIII of the Social Security Act or
          Section 353 of the Public Health Service Act but only to the extent the requested
          information was acquired in the course of performing those functions and regardless
          of whether documents are also relevant to the state’s activities.

  45 C.F.R. §2.2(3). LDDH itself recognizes and enforces this regulatory federal employee status as it

  relates to their “performing survey, certification, or enforcement functions” and regardless of

  whether their activities “related to the state’s activities”:

          The Louisiana Department of Health and Hospitals (LDHH), Health Standards
          Section (HSS), is a state agency which performs survey, certification, or enforcement
          functions under the Social Security Act, 42 U.S.C. §§1395h, 1395u. Effective
          October 15, 2008, LDHH/HSS employees are included in the definition of




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        “employee” of the Department of Health and Human Services (the “Department”)…
        .
  See LDHH Letter to BTW counsel, January 19, 2010, Exhibit B.

         Second, LDHH is a federal contractor with CMS, overseeing and inspecting SNFs like BTW

  in order to ensure compliance with federal requirements: “Facilities that contract with the Secretary

  of [HHS] are periodically inspected by state health agencies to ensure compliance with federal

  regulations.” Omni Manor Nurs. Home v. Thompson, 151 Fed.Appx. 427, 428 (6th Cir. 2005), citing

  42 U.S.C. §§1395aa, 1395i-3(g); 42 C.F.R. §488.20. LDHH is one such agency. In re Oaks of Mid

  City Nurs. & Rehab. Ctr., No. A-11-24, 2011 WL 2110679, at *2 (HHS Dept App. Bd., App. Div.

  Mar. 31, 2011) (identifying LDHH as a state survey agency for the federal CMS).

         Third, as a state agency, LDHH is also an AHJ under HHS’s Declaration, as well as a

  “Person” and “Program Planner” under the PREP Act. 85 Fed. Reg. at 15,200 (defining “Authority

  Having Jurisdiction”); 42 U.S.C. §§247d-6d(e)(5) (defining “person” to include a “State, or local

  government agency or department”); (e)(6) (defining “program planner” a “State or local

  government”); see also supra, n. 4. LDHH oversaw, inspected, and controlled SNFs during the

  pandemic, specifically for compliance with federal infection control policies regarding COVID-19

  countermeasure administration and use, COVID-19 programs, and COVID-19 facilities operations.

  For example:

         BTW was inspected by CMS, through the LDHH on May 7, 2020, June 22, 2020,
         July 14, 2020 and September 28, 2020 to assure compliance with federal COVID
         infection control program requirements. I have attached to this affidavit true and
         accurate copies of those CMS surveys and related correspondence from LDHH.
         Those surveys state in part:

             [A] COVID 19 Focused Infection Control survey was conducted at your
             facility by the Louisiana Department of Health, Health Standards Section.
             The purpose of this survey was to determine if your facility was in
             compliance with State licensing standards and/or federal conditions of
             participation.




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                                                   ***

             A COVID-19 Focused Infection Control Survey was conducted on
             September 28, 2020 [and each of the other stated dates]. The facility was
             found to be in compliance with 42 CFR 483.80 infection control regulations
             and has implemented the CMS and Centers for Disease Control and
             Prevention (CDC) recommended practices to prepare for COVID-19.

         On June 1, 2020, BTW received notice from LDHH — expressly on behalf of CMS
         — which notice is attached to this affidavit. Said notice stated in part:

             The Centers for Medicare & Medicaid Services (CMS) is committed to taking
             critical steps to ensure America's health care facilities are prepared to respond
             to the threat of disease caused by the 2019 Novel Coronavirus (COVID-19).
             In accordance with Memorandum QSO-20-20-All, CMS is suspending
             certain Federal and State Survey Agency surveys, and delaying revisit
             surveys, for all certified provider and supplier types. (Emphasis in original)

             During this time, CMS is prioritizing and conducting only the following
             surveys: focused infection control surveys, … .

                                                   ***
             [T]he Louisiana State Survey Agency completed a COVID-19 Focused
             Survey at Booker T. Washington Skilled Nursing and Rehabilitation to
             determine if your facility was in compliance with Federal requirements
             related to implementing proper infection prevention and control practices to
             prevent the development and transmission of COVID-19. The survey
             revealed that your facility was in substantial compliance with participation
             requirements and no deficiencies were cited. The findings from this survey
             are documented on the enclosed Form CMS 2567. (Emphasis in original).

  See Affidavit of Brownlee, Exhibit A, ¶¶ 7-8 (incorporating CMS and LDHH official inspection

  survey documents and CMS COVID-19 directives). CMS explicitly tied these actions to its

  “commit[ment] to taking critical steps to ensure America’s health care facilities are prepared to

  respond to the threat of disease caused by … COVID-19”. See id. at ¶8.

         As an employee/federal contractor, LDHH issued directives requiring SNFs to follow CMS

  COVID-19 directives. These included the following:

             •   “MANDATING AND DIRECTING that All Nursing Facilities licensed in
                 Louisiana implement and follow the provisions of the Centers for Medicare
                 and Medicaid services (CMS) QSO-20-14-NH, Guidance for Infection




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                 Control and Prevention of Coronavirus Disease 2019 (COVID-19) in Nursing
                 Homes, as Revised March 13, 2020. A copy of such CMS Guidance is
                 attached.” See LDHH Healthcare Facility Notice/Order, March 16, 2020,
                 Exhibit C, 1 (emphases in original).5 This CMS “guidance” (now a mandate)
                 required facilities to –

                 o “[R]estrict visitation of all visitors and non-essential health care
                   personnel, except for certain compassionate care situations”. See
                   Exhibit C, 3 (emphases in original);6

                 o “[N]otify potential visitors to defer visitation until further notice”. See
                   id. (emphasis in original);

                 o “[R]equire visitors to perform hand hygiene and use Personal
                   Protective Equipment (PPE), such as facemasks”. See id. (emphasis
                   in original);

                 o “[C]ancel communal dining and all group activities”. See id., 4
                   (emphasis in original);

                 o “Implement active screening of residents and staff for fever and
                   respiratory symptoms”. See id. (emphasis in original);

                 o “Remind residents to practice social distancing and perform frequent
                   hand hygiene”. See id. (emphasis in original);

                 o Provide instruction to visitors before they enter the building “on hand
                   hygiene, limiting surfaces touched, and use of PPE according to
                   current facility policy while in the resident’s room”. See id. (emphasis
                   in original);

                 o Promulgate enumerated guidelines for “necessary or allowable”
                   visitors. See id. (emphasis in original);

                 o Advise those entering the facility “to monitor for signs and symptoms
                   of respiratory infection for at least 14 days after exiting the facility. If
                   symptoms occur, advise them to self-isolate [,] and immediately notify
                   the facility of when they were in the facility, the individuals they were
                   in contact with, and the locations within the facility they visited”. See
                   id. (emphasis in original);


  5
      Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/LDH_
  Nursing_Homes_Visitor_Restrictions_CMSGuidance_03162020.pdf (last visited May 9, 2022).
  6
    Notably, this “guidance” provided strict detail regarding what constituted a “compassionate care
  situation[,]” how to handle it, and exceptions to the CMS “restrictions”.



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                 o Follow CDC guidelines regarding admittance of COVID-positive
                   residents. See id., 4-5;

                 o “[R]einforce strong hand-hygiene practices … and facemasks”. See
                   id., 5 (emphasis in original);

                 o “Properly clean, disinfect and limit sharing of medical equipment”.
                   See id., 5;

                 o “Provide additional work supplies to avoid sharing … and disinfect
                   workplace areas”. See id.;

                 o “[T]ake actions to mitigate any resource shortages and … tak[e] all
                   appropriate steps to obtain necessary supplies as soon as possible”.
                   See id.;

                 o “[C]ontact the local and state public health agency to notify them” of
                   PPE shortages. See id.

             •   “DIRECTING that all … nursing facilities adhere to … provisions,
                 restrictions, and limitations” regarding discharge of acute care patients with
                 suspected COVID-19 to SNFs in coordination with “the requirements of
                 CMS Guidelines”. See LDHH Healthcare Facility Notice/Order, March 26,
                 2020, Exhibit D, 1-2 (emphases in original).7

  Accordingly, CMS “guidance” became mandates and directives through the federal government’s

  agent, contractor, and AHJ – LDHH. Had BTW not strictly complied with these federal mandates

  (enforced by LDDH on behalf of CMS), it would have been cited and fined. See Affidavit of

  Brownlee, Exhibit A, ¶¶ 7-8.

         As further example, LDHH issued notices and memoranda that:

             •   “DIRECT[ED] AND REQUIR[ED] that all licensed healthcare facilities in
                 Louisiana … IMMEDIATELY PROHIBIT all non-essential visitors”
                 during a period of time. See LDHH Healthcare Facility Notice, March 12,
                 2020, Exhibit E, 1 (emphases in original).8 This Notice included specific
                 definitions, exceptions, and further directives to implement specific policies
                 and procedures. See id., 2.

  7
    Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/LDH_MEMO_
  re_Hospital_Discharges_to_NF_03262020.pdf (last visited May 6, 2022).
  8
     Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/Visitor_
  Restriction_03122020.pdf (last visited May 6, 2022).



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             •   Directed SNFs to adhere to a policy waiving pre-admission screening and
                 resident review for residents with suspected mental illness or intellectual
                 disability for thirty days before proceeding with reviews “as soon as
                 resources become available.” See LDHH Healthcare Facility Notice/Order,
                 March 24, 2020, Exhibit F.9

             •   Directed SNFs to work with PPE vendors for equipment. See LDHH
                 Memorandum, March 25, 2020, Exhibit G.10

             •   Directed SNFs and hospitals to “work cooperatively on discharge planning
                 ….” See LDHH Healthcare Facility Notice/Order, April 24, 2020, Exhibit
                 H.11

         LDHH also promulgated a “Nursing Home Facility Toolkit” (Exhibit I)12 that provides

  reporting requirements. See Exhibit I, 7 and 11. These provisions “DIRECT[ED] AND

  REQUIR[ED] … all licensed nursing facilities in Louisiana [to] comply with the attached

  Memorandum from [CMS] regarding COVID-19 reporting requirements and notification

  requirements ….” See LDHH Healthcare Facility Notice/Order, May 7, 2020, Exhibit J, 1-2

  (emphases in original).13 See Nursing Home Facility Toolkit, Exhibit H, 7. BTW complied with

  these reporting requirements. See Affidavit of Brownlee, Exhibit A, ¶12.

         BTW’s function as an all-COVID is one demonstration of BTW’s intensive participation in

  the federal government’s coordinated response to the COVID-19 pandemic. It is further support that

  as a particular “program planner”, BTW is entitled to the federal protections of Federal Officer



  9
     Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/LDH_
  MEMO_Re_PASRR_1135_Waiver_Final_03242020.pdf (last visited May 9, 2022).
  10
     Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/Available_
  PPE_from_YOUR_VENDOR_03252020.pdf (last visited May 6, 2022).
  11
      Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/SHO_
  LDH_Memo_Hospital_Discharges_04242020.pdf (last visited May 9, 2022).
  12
     Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/LDH_NH_
  Facility_Toolkit.pdf (last visited May 6, 2022).
  13
      Also available at https://ldh.la.gov/assets/medicaid/hss/docs/Coronavirus_2019/LDH_
  MEMO_NF_RC19ICwCMSR_05072020.pdf (last visited May 9, 2022).



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  Removal. HHS’s direction and control of Defendants direct and by and through LDHH – a federal

  contractor and a state-level AHJ – uniquely situates BTW as a federal officer and instrumentality.

  Declaration, 85 Fed. Reg. at 15,198 (defining and declaring PREP Act “covered persons” to be those

  licensed entities formally working through HHS’s AHJs). See Exhibits B through J (LDHH letter,

  notices, memoranda, and toolkit).

          Approximately two months after the Secretary’s Declaration was issued, BTW directly

  coordinated with LDHH, a federal employee/contractor to become an all-COVID skilled nursing

  facility, as part of a national infection control effort. See Affidavit of Brownlee, Exhibit A, ¶¶2-6, 8;

  Exhibits B through J (LDHH letter, notices, memoranda, and toolkit).14 Additionally, BTW was

  under the direction of CMS to mitigate the spread of COVID-19 among senior citizens in Louisiana

  and beyond. Affidavit of Brownlee, Exhibit A, ¶¶6-13 (discussing transfers into BTW from other

  states). Such federal purpose, direction, and control during the limited period of the COVID-19

  Declaration illustrates federal surrogacy and substantiates the “acting under” prong of 28 U.S.C.

  §1442(a) federal officer protection. AO 20-04, 4 (formally adopted into the HSS Declaration).

          These facts and this argument were not presented in the Mitchell or Perez cases.

              2. Congress Specifically Anticipated Federal Officer Involvement In the PREP Act
                 Implementation and Litigation Process

          Congress expressly refers to federal officer involvement in subsections (d)(1) and (f) of 42

  U.S.C. §247d-6d. In subsection (f), Congress provides that federal “agencies” (such as HHS),

  “instrumentalities” (such as AHJs, healthcare infrastructure participants and senior-assisted




  14
     The HHS Secretary is empowered, in coordination with the CDC, to arrange appropriate
  quarantine/isolation processes to prevent and stop pandemic spread among states. 42 U.S.C. §264;
  42 C.F.R. §§70, et. seq; see also Affidavit of Brownlee, Exhibit A, ¶5 (BTW accepted COVID-19
  patients from around the United States).



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  facilities) and “officers” (such as program planners) will keep federal statutory protections, such

  as 28 U.S.C. §1442(a), regardless of any provision of the PREP Act:

         Nothing in this section shall be construed to abrogate or limit any right, remedy, or
         authority that the United States or any agency thereof may possess under any other
         provision of law or to waive sovereign immunity or to abrogate or limit any defense
         or protection available to the United States or its agencies, instrumentalities,
         officers, or employees under any other law, including any provision of chapter 171
         of Title 28 (relating to tort claims procedure).

  42 U.S.C. §247d-6d(f) (emphases added).15 Subsection (f) thrice refers to types of legal protections

  for federal officers such as BTW by citing to “other provisions of law,” “any defense or protection,”

  and “any other law,” which would include the protection of 28 U.S.C. §1442(a). Subsection (f) also

  refers to two categories of federal agents to be protected, to-wit: “instrumentalities” and “officers”

  of HHS. See Defendants’ Response in Opposition to Remand [Doc. 21], 20-25 (explaining how and

  why BTW is an HHS instrumentality and officer).

         Subsection (f)’s assurance of statutory protections to federal instrumentalities and officers

  is expressly incorporated into subsection (d)(1) of the PREP Act: “Subject to subsection (f), the

  sole exception to the immunity from suits shall be for an exclusive Federal cause of action.” 42

  U.S.C. §247d-6d(d)(1) (emphases added). By incorporating subsection (f) into subsection (d)(1),

  Congress makes clear that the creation of the PREP Act cause of action is not abrogating or limiting

  any federal protection, such as §1442, that is otherwise bestowed upon an instrumentality or officer


  15
    Note that LDHH is also a “ covered person” as defined under the PREP Act and is therefore an
  AHJ federal officer in addition to being a federal contractor. See §247d-6d(i)(2) (defining a
  “covered person” as “a person or entity that is … a program planner of [a covered] countermeasure
  [or] a qualified person who … administered[] or dispensed such countermeasure”).



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  of one of the federal government’s agencies. Therefore, Plaintiffs are incorrect in asserting that

  Congress did not anticipate that a public health crisis, such as the COVID-19 pandemic, would

  involve private federal officers and instrumentalities that would need all the protections federal

  law provides, including 28 U.S.C. §1442(a). Indeed, Congress planned on it.

         BTW is entitled to federal officer removal protections under 28 U.S.C. §1442(a).

                                              CONCLUSION

         WHEREFORE, Defendants respectfully request that this Court issue an order denying

  Plaintiffs’ motion to remand.

                                       Respectfully submitted,

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                               NURSING & REHABILITATION CENTER, AND
                               KOURTNEY BROWNLEE




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                                  CERTIFICATE OF SERVICE

            A copy of the foregoing Defendants’ Supplemental Argument and Authority in Further

  Opposition to Plaintiff's Motion to Remand has been served upon all counsel of record pursuant

  to the court’s electronic docket system this 13th day of May, 2022.


                                               /s/ Ronald E. Raney




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